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 8
 9                                 UNITED STATES DISTRICT COURT
                                 NORTHERN DISTRICT OF CALIFORNIA
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12
     AMANDA DAVIS, individually and on behalf        Case No. ________
13   of all others similarly situated,

14                 Plaintiff,                        CLASS ACTION COMPLAINT
15
       vs.
16                                                   JURY TRIAL DEMANDED
     NATERA, INC.,
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18                 Defendant.

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 1   I.     INTRODUCTION
 2          1.      During a pregnancy, prenatal testing is used to determine whether chromosomal
 3   disorders are present in the fetus. These disorders include Down syndrome, as well as other serious
 4   conditions that can result in intellectual disability, a shortened lifespan, and other serious
 5   complications. Expectant mothers and their doctors rely on the results of prenatal testing to make
 6   potentially life-altering decisions, such as whether to continue with the pregnancy. In the past
 7   decade, advances in noninvasive prenatal testing or NIPT have allowed companies to offer tests that
 8   can detect developmental deficiencies earlier in the pregnancy by testing a sample of the expectant
 9   mother’s blood.
10          2.      Defendant Natera, Inc. markets and sells NIPT tests for pregnant women that screen
11   for various chromosomal and genetic conditions affecting a baby’s health. Natera markets its NIPT
12   tests as the most reliable non-invasive method of screening for genetic conditions. Although NIPT
13   testing is generally effective at screening for Down syndrome, an investigation by the New York
14   Times has revealed that positive test results for some rare genetic conditions are incorrect 85 percent
15   of the time or more—up to 98 percent.
16          3.      A false positive on a prenatal test can have severe consequences for expecting parents.
17   Besides unnecessarily enduring anxiety, stress, and anguish about the health of their child, pregnant
18   women are subjected to invasive and expensive further diagnostic testing and the additional expense
19   of genetic counseling and consulting with doctors specializing in high-risk pregnancies. In addition,
20   because NIPT testing is generally performed relatively early in the pregnancy, diagnostic testing is
21   not immediately available to confirm the test results. In some states, diagnostic testing may not
22   become available until after the period when a pregnancy may be legally terminated, meaning some
23   expectant parents must rely entirely on the results of the NIPT testing to make an extremely difficult
24   decision on whether to proceed with the pregnancy. And even if it is available, follow-up testing is
25   highly invasive and carries the risk of causing a miscarriage. According to the New York Times
26   investigation, some expectant mothers have even terminated a viable pregnancy based on a false
27   positive from NIPT testing.
28          4.      Natera has known for years that its NIPT tests are susceptible to false positives, yet it

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 1   continues to promote its NIPT test as a reliable detector of rare abnormalities. It also claims that its
 2   NIPT test produces fewer false positives than competing tests without revealing the extent to which
 3   pregnant women and their doctors may be induced to make health decisions based on inaccurate test
 4   results.
 5              5.     Natera processes more than 400,000 NIPT tests each year, meaning that it tests about
 6   one in ten pregnant women in the United States. Each patient is led to believe that they will receive
 7   accurate results. Users of Natera’s NIPT test, however, have not received what they paid for given
 8   the numerous problems that have come to light and many—including Plaintiff—have been subjected
 9   to unnecessary stress and anxiety, and additional medical costs due to a false positive indications of
10   rare disorders.
11   II.     JURISDICTION AND VENUE
12              6.     This Court has subject matter jurisdiction over this action pursuant to 28 U.S.C. §
13   1332 of the Class Action Fairness Act of 2005 because: (i) there are 100 or more class members, (ii)
14   the aggregate amount in controversy exceeds $5,000,000 exclusive of costs and interest, and (iii)
15   there is minimal diversity because at least one plaintiff and one defendant are citizens of different
16   states. This Court has supplemental jurisdiction over the state law claims pursuant to 28 U.S.C. §
17   1367.
18              7.     This Court has personal jurisdiction over Defendant because its principal place of
19   business is in this judicial district, it operates a clinical testing laboratory that processes NIPT tests in
20   this district, and Defendant has otherwise conducted substantial business in this judicial district.
21              8.     Venue is proper in this judicial district pursuant to 28 U.S.C. §1391 because Natera is
22   headquartered and regularly transacts business in this district, is subject to general personal
23   jurisdiction in this district, and therefore is deemed to be a citizen of this district. Additionally,
24   Natera received substantial revenue and profits from its sales of NIPT tests in this district. As such, a
25   substantial part of the events and/or omissions giving rise to the claims at issue occurred, in part,
26   within this district.
27   III.    INTRADISTRICT ASSIGNMENT
28              9.     Assignment to the San Francisco or Oakland Division is appropriate under Local Rule

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 1   3-2(c) and (d) because a substantial part of the events or omissions giving rise to Plaintiff’s claims
 2   occurred in San Mateo County.
 3   IV.      PARTIES
 4             10.    Plaintiff Amanda Davis is a resident and citizen of Youngstown, Ohio.
 5             11.    Defendant Natera, Inc. is a Delaware corporation with its principal place of business at
 6   201 Industrial Rd., San Carlos, California 94070.
 7   V.       FACTUAL BACKGROUND
 8            A.      Prenatal Testing
 9             12.    Prenatal testing is used to assess a pregnant patient’s risk of carrying a child with
10   chromosomal disorders that can affect the baby’s health. When tests provide accurate information,
11   prenatal genetic testing provides valuable information to pregnant patients about the health of their
12   unborn child. The genetic conditions these tests are intended to detect can make a pregnancy non-
13   viable or have serious impacts on the health of a surviving newborn, such as structural anomalies,
14   intellectual disabilities, and a shortened lifespan. For example, DiGeorge syndrome is associated
15   with heart defects and intellectual disability and Patau syndrome is “a condition that babies often do
16   not survive beyond a week.”1
17             13.    A pregnant patient whose child has one of these conditions faces serious questions
18   about risks in continuing the pregnancy, the viability of the pregnancy, and the prognosis and quality
19   of life for any surviving newborn. Some patients choose to terminate a pregnancy that has
20   chromosomal abnormalities.
21             14.    Prenatal testing generally includes both diagnostic tests and the more recently
22   developed screening tests. NIPT is a screening test that uses a sample of a pregnant patient’s blood
23   (which includes DNA of the fetus) to screen for a number of genetic conditions caused by an
24   abnormal number of chromosomes.2
25             15.    Screening tests differ from diagnostic tests in several ways. Although they provide
26   much more accurate results, diagnostic tests are highly invasive. For example, one diagnostic test is
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     1
28       https://www.nytimes.com/2022/01/01/upshot/pregnancy-birth-genetic-testing.html
     2
         https://www.acog.org/womens-health/infographics/cell-free-dna-prenatal-screening-test
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 1   amniocentesis, where a needle is inserted through the abdominal wall into the uterus to extract
 2   amniotic fluid surrounding the fetus.3 Another, called chorionic villus sampling, tests a sample of the
 3   placenta that is removed through the cervix or abdomen.4 In addition to being physically invasive,
 4   these diagnostic tests are also associated with risks, including a small risk of miscarriage.5
 5           16.     In contrast, screening tests are not invasive, requiring only a blood sample, and can be
 6   performed at a much earlier stage in a pregnancy. Because different states impose different time
 7   restrictions on when a pregnancy can be terminated, NIPT—which can be done much sooner than
 8   diagnostic testing—takes on additional importance. NIPT can be done as early as 9 or 10 weeks of
 9   pregnancy.6 These key differences make screening tests important to pregnant patients. But
10   screening tests generally lack the higher accuracy of a diagnostic test. Properly understood and
11   utilized, screening tests are “tool to determine if that pregnancy may warrant additional diagnostic
12   testing due to the increased risk of a genetic condition.”7
13           17.     The Positive Predictive Value (“PPV”) of each test is the likelihood that a positive
14   screening result is accurate—i.e., that the test result is positive and that the fetus actually has the
15   tested-for condition.8
16           18.     NIPT is reasonably accurate at identifying the most common conditions like Down
17   syndrome (approximately 1 in 700 live births) and Edward syndrome (about 1 in 3,000 live births).9
18   The American College of Obstetricians and Gynecologists (“ACOG”) reported in 2019 that for high-
19   risk pregnant women, NIPT for Down syndrome had a Positive Predictive Value of 83%, meaning
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     3
22     https://my.clevelandclinic.org/health/treatments/4206-genetic-amniocentesis
     4
       https://www.mayoclinic.org/tests-procedures/chorionic-villus-sampling/about/pac-20393533
23   5
       https://www.forbes.com/sites/ellenmatloff/2022/01/06/what-the-nytimes-got-wrong-on-prenatal-
24   screening/?sh=94aebd037a76
     6
       https://www.natera.com/womens-health/panorama-nipt-prenatal-screening);
25
     https://www.acog.org/womens-health/infographics/cell-free-dna-prenatal-screening-test.
26   7
       https://www.forbes.com/sites/ellenmatloff/2022/01/06/what-the-nytimes-got-wrong-on-prenatal-
     screening/?sh=94aebd037a76
27   8
       https://www.acog.org/clinical/clinical-guidance/practice-bulletin/articles/2020/10/screening-for-fetal-
28   chromosomal-abnormalities
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       Id.
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 1   83% of women who test positive actually have babies with Down syndrome.10 But for low-risk
 2   pregnant women, only 33% of positive test results were accurate.
 3          B.      The Increased Use of NIPT Testing
 4          19.     Although historically only offered to patients considered to be high risk because of
 5   their age or personal or family history, prenatal screening has expanded significantly in the last
 6   decade. NIPT was developed and grew until the ACOG changed its guidance in 2020 to recommend
 7   that all pregnant patients “be offered both screening and diagnostic testing options.”11 The ACOG’s
 8   guidance is that “[t]esting for chromosomal abnormalities should be an informed patient choice based
 9   on provision of adequate and accurate information, and the patient’s clinical context, accessible
10   health care resources, values, interests, and goals.”12
11          20.     “In just over a decade, the tests have gone from laboratory experiments to an industry
12   that serves more than a third of the pregnant women in America. The tests initially looked for Down
13   syndrome and worked very well.” 13 But, as the New York Times reported, “as manufacturers tried
14   to outsell each other, they began offering additional screenings for increasingly rare conditions.”14
15          21.     Adding screening tests for rarer conditions caused by genetic microdeletions—tiny
16   pieces of missing DNA at the sub-chromosomal level—have helped companies competing in the
17   market to grow. As the New York Times reported, “[a]ll the screenings could run on the same blood
18   draw, and doctors already order many tests during short prenatal care visits, meaning some probably
19   thought little of tacking on a few more.”15 Despite no added burden on the patient or doctors for
20   including these additional tests, the upside for testing companies was significant: “adding
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22      According to ACOG, “High risk” is defined as women 35 years or older; women whose previous
     ultrasound exam showed a possible problem with the fetus; women with a previous child with one of
23   these disorders or who themselves have a chromosomal problem that increases the risk of having a
24   child with trisomy 21 or trisomy 13; or women with a previous positive first-trimester or second-
     trimester screening test result. See https://www.acog.org/womens-health/infographics/cell-free-dna-
25   prenatal-screening-test.
     11
26      Id.
     12
        Id.
27   13
        https://www.nytimes.com/2022/01/01/upshot/pregnancy-birth-genetic-testing.html
     14
28      Id.
     15
        Id.
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 1   microdeletions can double what an insurer pays — from an average of $695 for the basic tests to
 2   $1,349 for the expanded panel, according to the health data company Concert Genetics.”16
 3          22.       The market for prenatal testing is sizeable and growing, estimated to range from $600
 4   million into the billions, with the number of women taking these tests expected to double by 2025.17
 5          23.       Natera has become a leader of this expanding market. “Natera has performed more
 6   than two million screenings for Down syndrome since 2013. It went public in 2015, and the value of
 7   its stock has grown to $8.8 billion.”18 Natera “said that in 2020 it performed more than 400,000
 8   screenings for one microdeletion — the equivalent of testing roughly 10 percent of pregnant women
 9   in America.”19
10          24.       The expanded panel of screenings has played a significant role in Natera’s growth,
11   which it expects to continue. Natera’s chief executive, Steve Chapman, reportedly said at an investor
12   conference last January, “This is a really significant moment for the microdeletions business.”20
13   Natera’s “2020 revenues were $391 million, and it projected its 2021 revenues to exceed $615
14   million. But if more insurers begin paying for microdeletion tests, Mr. Chapman said, the potential is
15   ‘enormous’ — it could bring in up to another $300 million every year.”21
16          25.       By the end of the third quarter of 2021, Chapman claimed in an earnings call that
17   Natera’s market share in NIPT was up to 40%.22 In a July 2021 interview, he said Natera was “by far
18   the market leader, testing roughly 25% of all pregnancies in the U.S. and growing rapidly.”23
19
20
21   16
        Id.
     17
22      Id.
     18
        Id.
23   19
        Id.
24   20
        Id.
     21
25      Id.
     22
        Natera, Inc. Q-4 earnings Call transcript, Nov. 4, 2021, available at
26   https://www.fool.com/earnings/call-transcripts/2021/11/05/natera-inc-ntra-q3-2021-earnings-call-
27   transcript/.
     23
        Paul Moss, Steve Chapman of Natera: Five Things You Need to Create a Highly Successful Startup,
28   Authority Magazine, July 7, 2021, available at https://medium.com/authority-magazine/steve-chapman-
     of-natera-five-things-you-need-to-create-a-highly-successful-startup-5815f3621ace.
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 1          C.      Natera’s Marketing of its NIPT Test
 2           26.     Natera advertises its NIPT test, “Panorama,” as “the most reliable way of non-
 3   invasively assessing a baby’s health” and claims that Panorama is “overall the most accurate NIPT
 4   commercially available in the United States.”24
 5           27.     Natera’s marketing—both to patients and to doctors—highlights the test’s “greater
 6   accuracy” and represents it to be “the most rigorously validated NIPT.”25 Natera’s website, for
 7   example, advertises Panorama having been tested with “the largest prospective NIPT study” with
 8   outcomes of “~90% samples with genetic truth.”26 The page also lists the numerous rare
 9   abnormalities Panorama screens for: Down Syndrome, Edwards Syndrome, Patau Syndrome, Turner
10   Syndrome, Klinefelter Syndrome, Triple X Syndrome, Jacob’s Syndrome, 22Q11.2 Deletion
11   Syndrome, Prader-Willi Syndrome, Angelman Syndrome, 1P36 Deletion Syndrome, Cri-du-Chat
12   Syndrome, and Triploidy.27
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26      Natera, Inc., 2020 10-K, Feb. 26, 2021 at 9, available at https://investor.natera.com/sec-filings/sec-
     filing/10-k/0001558370-21-001907.
27   25
        https://www.natera.com/womens-health/panorama-nipt-prenatal-screening
     26
28      Id.
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        Id.
                                                         8
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18          28.    Natera specifically highlights the high “positive predictive value” or PPV of Panorama
19   for Down syndrome. Yet it never discloses the fact that the PPV for the rarer genetic conditions
20   Panorama screens for is as low as 2-5%.
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 1             29.    Panorama’s patient brochure further touts that it has “fewer false positives and fewer
 2   false negatives.”
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12             30.    In a similar brochure targeted at doctors, Natera makes similar claims about the
13   accuracy of its products, boasting that its tests are “validated with >99% sensitivity & specificity.”
14   Natera urges, “[f]or more clinically relevant information, combine Panorama, with Vistara, the next
15   innovation in NIPT technology.”28
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22             31.    In response to the question “what are the benefits of having the panorama prenatal
23   screen?” on a FAQ page, Natera says: “Non-invasive and highly accurate, Panorama identifies more
24   than 99% of pregnancies affected with Down syndrome and has the lowest reported false positive
25   rate of any prenatal screening test for the commonly screened chromosomal abnormalities: trisomy
26   21, trisomy 18, and trisomy 13.”29
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     28
28        https://www.natera.com/resource-library/panorama/panorama-vistara-physician-brochure
     29
          https://www.natera.com/womens-health/panorama-nipt-prenatal-screening/faq/#pg-menu-tabs
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 1           32.        Natera advertises that its NIPT test does not pose the risks associated with the more
 2   accurate diagnostic test, touting that “Panorama poses no risk to the baby compared to amniocentesis
 3   or chorionic villus sampling (CVS).”30 It also prominently advertises that its test can be performed
 4   “as early as nine weeks gestation.”31
 5           33.        Natera also refers to recently changed ACOG guidelines, which now recommend
 6   screening be offered in all pregnancies, not just high risk ones. This recommendation increased the
 7   popularity of Natera’s NIPT tests and others in the market, but it was paired with a recommendation
 8   that accurate information be provided about the strengths and weaknesses of the various screening
 9   tests available.
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19          D.      The Truth About the Accuracy and Reliability of Natera’s NIPT Tests
20           34.        In the past decade, NIPT has expanded beyond Down syndrome to screen for
21   chromosomal microdeletions. For these rare genetic conditions, unfortunately, there is a precipitous
22   drop in the positive predictive value of NIPT. Despite the steep drop off in the accuracy of the tests,
23   Natera continues to stress their reliability.
24           35.        The Times report explains how, “[i]n the detection of rare disorders, reliability rates
25   can be misleading.”32 Because “reliability” is different than the positive predictive value of a test, a
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     30
        https://www.natera.com/womens-health/panorama-nipt-prenatal-screening
27   31
        Id.
28   32
        https://www.nytimes.com/2022/02/10/learning/lesson-plans/the-misleading-math-of-prenatal-
     tests.html
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 1   statement that results are “99.9% reliable”—a claim commonly made for NIPT—can be statistically
 2   true but highly misleading. When “99.9% reliable” means that “99.9 percent of fetuses with the
 3   disorder test positive, and 99.9 percent of fetuses without the disorder test negative,” the number of
 4   false positives for a very rare disorder will still dwarf the number of true positive results.33
 5          36.     For instance, DiGeorge syndrome, a rare disorder, affects about one out of every 4,000
 6   births. Thus in a random sample of 100,000 births, only about 25 would be expected to have
 7   DiGeorge syndrome, and the remaining 99,975 would not.34 A test with a “99.9% reliability” rate
 8   would thus identify about 25 true positive results (99.9% of 25) and about 100 false positives (0.1%
 9   of 99,975).35 So, out of 125 positive test results for DiGeorge in this example, only 20 percent of the
10   positive test results were accurate. “This means that if an expecting mother receives a positive test
11   for DiGeorge syndrome, there is only a 20 percent chance the fetus actually has the syndrome (a far
12   cry from 99.9 percent). In other words, there is an 80 percent chance that the test is wrong.”36
13          37.     Some of Natera’s Panorama tests for the rarest conditions have a positive predictive
14   value as low as 2-5%, meaning positive test results will be wrong as much as 98% of the time.
15   Despite these low accuracy rates—and the significant impact the test may have on a parent’s decision
16   whether to continue with a pregnancy—Natera advertises Panorama as reliable overall, with much
17   emphasis on the accuracy rates of the tests for more common conditions like Down Syndrome that
18   Panorama can reasonably detect.
19          38.     With accuracy rates this low, positive test results have little if any utility. As one
20   obstetrician and geneticist quoted in the Times put it, “It’s a little like running mammograms on kids.
21   . . . The chance of breast cancer is so low, so why are you doing it?”37
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23
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     33
        Id.
25   34
        Id.
26   35
        https://int.nyt.com/data/documenttools/the-misleading-math-of-prenatal-tests-answer-
     key/4ace5309f9054a76/full.pdf
27   36
        https://www.nytimes.com/2022/02/10/learning/lesson-plans/the-misleading-math-of-prenatal-
28   tests.html
     37
        https://www.nytimes.com/2022/01/01/upshot/pregnancy-birth-genetic-testing.html
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 1           39.    Reproductive Biomedicine & Society Online reported that patients are increasingly
 2   relying on the internet for healthcare information, which carries a corresponding increase in the risk
 3   of reliance on unclear or misleading information about NIPT.38 The analysis found “a high degree of
 4   variability in the presentation of information about NIPT,”39 including “most concerningly that
 5   companies, including Natera, described NIPT as a screening or diagnostic test unevenly, a key
 6   distinction for understanding the accuracy of results and easily misunderstood by patients if not
 7   presented clearly.40
 8           40.    The Times similarly reported that “[g]enetic counselors who have dealt with false
 9   positives say some doctors may not understand how poorly the tests work. And even when
10   caregivers do correctly interpret the information, patients may still be inclined to believe the
11   confident-sounding results sheets.”41
12          E.      The New York Times Investigation
13           41.    In January 2022, a New York Times investigation reported widespread
14   misrepresentations on the accuracy of NIPT. The Times’ analysis found that positive results from
15   tests screening for rare chromosomal microdeletion disorders such as DiGeorge and Prader-Willi
16   syndromes were incorrect approximately 85% of the time.42
17           42.    The Times also reported that companies offering NIPT were not transparent about the
18   true accuracy of their tests. “The Times reviewed 17 patient and doctor brochures from eight of the
19   testing companies, including Natera, Labcorp, Quest and smaller competitors. Ten of the brochures
20   never mention that a false positive can happen. Only one mentioned how often each test gets positive
21   results wrong.”43
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24      Ruth M. Farrell, Patricia K. Agatisa, et.al., Online direct-to-consumer messages about non-invasive
     prenatal genetic testing, Reproductive Biomedicine & Society Online, March 10, 2016, available at
25   https://www.rbmsociety.com/article/S2405-6618(16)00003-4/fulltext
     39
26      Id.
     40
        https://www.documentcloud.org/documents/21179846-cfa-sec-natera-letter
27   41
        https://www.nytimes.com/2022/01/01/upshot/pregnancy-birth-genetic-testing.html
     42
28      Id.
     43
        Id.
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 1              43.   The market for NIPT is not heavily regulated. “There are few restrictions on what test
 2   makers can offer. The Food and Drug Administration often requires evaluations of how frequently
 3   other consequential medical tests are right and whether shortfalls are clearly explained to patients and
 4   doctors. But the F.D.A. does not regulate this type of test.”44
 5              44.   Patients and doctors are easily confused by the marketing of companies like Natera.
 6   According to the Times, a former FDA official “reviewed marketing materials from three testing
 7   companies and described them as ‘problematic.’” As he put it, “These numbers are meaningless.”45
 8              45.   Also in January 2022, the Campaign for Accountability sent a letter to the Securities
 9   and Exchange Commission (“SEC”) detailing the misleading nature of NIPT marketing and asked the
10   SEC to “investigate whether Natera, Inc. has misled investors in violation of the Securities Act of
11   1934.”46 The letter outlines the misleading nature of Natera’s NIPT results, and encourages the SEC
12   to investigate the “company’s effort to persuade pregnant women and their doctors of the efficacy of
13   NIPTs” to determine “whether Natera knowingly overstated the accuracy of its NIPT.”47
14          F.        Consequences of a False Positive Test Result
15              46.   The impact on a pregnant patient of a positive result on a prenatal test indicating that
16   the unborn child has a genetic abnormality is far-reaching.
17              47.   Parents fear that their pregnancy may not be viable, or that even if the child survives
18   birth, it will be seriously impacted by a genetic disorder. The health implications of these conditions
19   on the unborn child, and the potential economic consequences of caring for a child born with genetic
20   abnormalities are so serious that many patients with a positive result at least consider whether to
21   terminate the pregnancy. Some patients do terminate their pregnancies as a result of the positive test
22   results.
23              48.   Compounding that difficult choice patients face about whether to continue the
24   pregnancy, NIPT is usually performed early in a pregnancy before further diagnostic testing can
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     44
        Id.
27   45
        Id.
     46
28      https://www.documentcloud.org/documents/21179846-cfa-sec-natera-letter
     47
        Id.
                                                  14
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 1   definitively confirm whether the child truly is impacted. Even if diagnostic testing is available, it is
 2   highly invasive and there is a risk that the test itself will cause a miscarriage. And in some states
 3   where terminating a pregnancy is more tightly restricted, a parent with a positive test result may not
 4   have the option to wait for a diagnostic test before deciding whether to terminate the pregnancy.
 5           49.    In addition to the anguish for the potentially compromised health of their child,
 6   parents with positive test results also must contend with expensive and stressful doctor’s
 7   appointments with high-risk pregnancy specialists. Pregnant patients often incur increased costs for
 8   these extra visits and increased testing. As the Times reported, “Patients who receive a positive result
 9   are supposed to pursue follow-up testing, which often requires a drawing of amniotic fluid or a
10   sample of placental tissue. Those tests can cost thousands of dollars, come with a small risk of
11   miscarriage and can’t be performed until later in pregnancy—in some states, past the point where
12   abortions are legal.”48
13           50.    The Times also reported that “[t]he companies have known for years that the follow-
14   up testing doesn’t always happen. A 2014 study found that 6 percent of patients who screened
15   positive obtained an abortion without getting another test to confirm the result. That same year The
16   Boston Globe quoted a doctor describing three terminations following unconfirmed positive
17   results.”49
18           51.    False positives can and do lead to tragic results: “the follow-up testing revealed the
19   fetus was healthy. But by the time the results came, the patient had already ended her pregnancy.”50
20          G.      Plaintiff Receives a False Positive from Natera’s NIPT Test
21           52.    Plaintiff Davis became pregnant in 2020. When she was in her first trimester, her
22   gynecologist highly recommended prenatal screening. Believing the full screening panel was routine,
23   Plaintiff agreed, and submitted to a test using Natera’s Panorama NIPT.
24           53.    Plaintiff received her results at her 12-week appointment. The results showed an
25   “atypical finding,” noting there was a “[s]uspected finding outside the scope of the test, which may
26
27   48
        https://www.nytimes.com/2022/01/01/upshot/pregnancy-birth-genetic-testing.html
     49
28      Id.
     50
        Id.
                                                   15
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 1   include, but is not limited to, fetal mosaicism, fetal chromosome abnormality [or] maternal
 2   chromosome abnormality.” The test results from Natera did not disclose that the positive predictive
 3   value for its screening for rare conditions is very low.
 4          54.     Although it was unclear to Plaintiff what this test result meant, she was shocked and
 5   immediately filled with dread about the well-being of her baby when her gynecologist described the
 6   potential results: chromosomal disorders, physical deformities, and babies that often don’t survive
 7   long after birth if they make it that far. Her gynecologist said that she needed to have regular
 8   appointments with a doctor for high-risk pregnant women.
 9          55.     Having not been advised of the low positive predictive value of the test, Plaintiff
10   relied on the results of her Natera Panorama NIP test in making decisions regarding her pregnancy
11   and care. She also contemplated whether she would need to terminate her pregnancy.
12          56.     During her pregnancy, Plaintiff had extra medical appointments with a high-risk
13   pregnancy specialist doctor approximately every two weeks for ultrasounds to check for
14   abnormalities. Each appointment brought additional stress and worry as Davis discussed the worst-
15   case scenarios with the doctors.
16          57.     When the first ultrasound did not show any abnormalities, Davis asked whether her
17   test results could have been a false positive. The high-risk pregnancy specialist told her that most
18   NIPT results are pretty accurate. He also said that, at 13 weeks, it was too soon for amniocentesis,
19   but that he would recommend it if the next appointment showed anything. Because Davis understood
20   that amniocentesis is invasive and carried a risk of causing a miscarriage, she worried about having
21   the procedure done.
22          58.     At each appointment she was told that she would need to wait for answers. Although
23   her ultrasounds continued to show no abnormalities, she was told that she still needed to continue to
24   see the high risk specialist. Davis paid approximately three thousand dollars out of pocket for these
25   additional doctors’ appointments. She also paid approximately $100 out of pocket for the portion of
26   the Natera test that was not covered by her insurance.
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 1           59.     When she was around 22 weeks pregnant, Davis’ high-risk doctor determined that her
 2   child likely did not have a chromosomal disorder based on continued ultrasounds. Davis later gave
 3   birth to a healthy baby.
 4           60.     Plaintiff Davis would not have utilized and contributed out of pocket payments for a
 5   Natera NIPT test if she had known that the test is inaccurate and unreliable.
 6           61.     In addition to the other harm described herein, Plaintiff suffered emotional distress,
 7   stress, and anxiety as a result of the unreliable Natera NIPT test she received.
 8   VI.    CLASS ACTION ALLEGATIONS
 9           62.     Plaintiffs brings this suit as a class action on behalf of herself and all other persons
10   similarly situated, pursuant to Federal Rules of Civil Procedure 23(a), (b)(2), and (b)(3), as
11   representative of:
12          Class: All purchasers of Natera’s NIPT testing services, including consumers who paid out-of-
13          pocket, through health insurance, or through any other collateral source.
14          Ohio Subclass: All Purchasers of Natera’s NIPT testing services in Ohio, including consumers
15          who paid out-of-pocket, through health insurance, or through any other collateral source.
16
             63.     The Class and the state Subclass are referred to collectively herein as the “Class.”
17
     Excluded from the Class are Defendant, its affiliates, employees, officers and directors, and the
18
     Judge(s) assigned to this case. Plaintiff reserves the right to modify, change or expand the Class and
19
     Subclass definitions based on discovery and further investigation.
20
             64.     This action is brought as a class action and may properly be so maintained pursuant to
21
     the provisions of Rule 23 of the Federal Rules of Civil Procedure.
22
             65.     Numerosity – The members of the Class are so numerous that their individual joinder
23
     is impracticable. While the exact number of individual Class members is unknown at this time,
24
     Plaintiff believes the information is in the possession of Natera, and that Class membership is
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     determinable by objective criteria using Defendant’s own records.
26
             66.     Existence and Predominance of Common Question of Fact and Law – There are
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     questions of law and fact common to the Class. These questions predominate over any questions
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     affecting only individual class members and include, but are not limited to:
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 1                     A.     Whether Defendant’s NIPT test is accurate and reliable;
 2                     B.     Whether Defendant has a duty to disclose the complete truth regarding the
 3                            accuracy and reliability of its NIPT test;
 4                     C.     Whether Defendant concealed material information about the accuracy and
 5                            reliability of its NIPT test results;
 6                     D.     Whether Defendant’s conduct violates the laws set forth in the causes of action;
 7                     E.     Whether Plaintiff and the Class have been harmed as a result of Defendant’s
 8                            conduct alleged herein;
 9                     F.     Whether Defendant has been unjustly enriched as a result of the conduct
10                            alleged herein;
11           67.       Typicality – Plaintiff’s claims are typical of the claims of the Class. Plaintiff and the
12   Class were subjected to the same common pattern of conduct by Defendant, and Plaintiff, like the
13   other members of the Class, sustained damages arising from Defendant’sviolations of the law, as
14   alleged herein.
15           68.       Adequacy – Plaintiff will fairly and adequately represent and protect the interests of
16   the Class and has retained competent counsel who are highly experienced in complex class actions
17   and who intend to vigorously prosecute this action. There are no material conflicts between Plaintiff
18   and the members of the Class.
19           69.       Superiority – A class action is superior to other available means for the fair and
20   efficient adjudication of this dispute. The injury suffered by each individual Class member is
21   relatively small in comparison to the burden and expense of prosecuting these claims individually.
22   Individualized litigation also would risk inconsistent or contradictory judgments and increase the
23   delay and expense to all parties and the courts. By contrast, a class action presents far fewer
24   management difficulties and provides the benefits of single adjudication, economies of scale, and
25   comprehensive supervision by a single court.
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 1   VII.   CAUSES OF ACTION
 2                                                   COUNT I
 3                                           Fraudulent Concealment
 4           70.     Plaintiff incorporates and realleges the foregoing allegations of facts.
 5           71.     Plaintiff brings this claim on behalf of herself and the Class under California law, or
 6   alternatively, Ohio law.
 7           72.     Natera marketed and sold Panorama NIPT tests that it knew to be unreliable and failed
 8   to take sufficient steps to ensure the reliability of such tests. Yet it encouraged consumers and doctors
 9   to rely on such tests to make vital decisions about their pregnancy and pregnancy related treatments.
10   Defendant knew that Plaintiff, consumers, and their treating physicians would reasonably expect the
11   NIPT tests to be reliable, given the nature and importance of prenatal testing.
12           73.     Natera, however, made misleading partial representations and did not fully and
13   truthfully disclose to its customers and their physicians that its NIPT tests cannot accurately and
14   reliably detect rare disorders such as DiGeorge syndrome. Such information was not readily
15   discoverable by Plaintiff, consumers, or their doctors. A reasonable consumer and physician would
16   not expect that NIPT tests—which Defendant repeatedly claimed and heavily promoted to be highly
17   accurate—would in fact frequently result in false positives.
18           74.     At all relevant times, Defendant had a duty to disclose all facts material to Plaintiff
19   and Class members’ regarding the use and reliance upon NIPT test results because it had superior
20   knowledge and access to relevant information regarding its own testing, made misleading partial
21   representations regarding the accuracy and reliability of NIPT testing, and because it was in a special
22   relationship with Plaintiff and Class members. Natera, however, failed to disclose all material
23   information regarding its NIPT test to Plaintiff and the Class, as well as to their treating physicians,
24   and concealed such material information with the intent that Plaintiff, Class members, and their
25   physicians would rely on such misleading and incomplete information.
26           75.     Plaintiff and Class members have reasonably relied on the misleading incomplete
27   representations and omissions made by Defendant, including but not limited to, by paying (out-of
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 1   pocket and/or through health insurance) for Natera’s Panorama NIPT testing services and relying on
 2   the test results to make decisions about their pregnancy and treatment.
 3           76.    Plaintiff and the Class were actually misled and deceived and suffered damages as a
 4   result. Natera’s fraudulent conduct was also intentional, willful, wanton, oppressive, reprehensible,
 5   and malicious and caused Plaintiff and Class members to suffer emotional distress, stress, and anxiety.
 6   Consequently, Plaintiff and Class members are entitled to an award of punitive damages.
 7                                                 COUNT II
 8                                        Breach of Implied Warranty
 9           77.    Plaintiff incorporates and realleges the foregoing allegations of facts.
10           78.    Plaintiff brings this claim on behalf of herself and the Class under California law, or
11   alternatively, Ohio law.
12           79.    As the manufacturer, designer, marketer, and/or seller of NIPT tests, by operation of
13   law, Natera warranted that its Panorama NIPT tests would, among other things, pass without objection
14   in the trade and are fit for the ordinary purposes for which such goods are used.
15           80.    At all relevant times, Natera’s NIPT tests were not in merchantable condition or fit for
16   the ordinary purpose for which prenatal tests are used. The lack of accuracy and reliability render the
17   tests unsuitable for identifying rare abnormalities during pregnancies and making decisions regarding
18   medical treatment, as they frequently produce false positives. The PPV for more rare genetic
19   conditions Panorama screens for is as low as 2-5%.
20           81.    Plaintiff, Class members, and their doctors relied on Natera’s claims regarding the
21   accuracy and reliability of its NIPT tests in purchasing the tests and making decisions regarding their
22   pregnancy and treatment.
23           82.    As a direct and proximate result of Defendant’s breach of implied warranties, Plaintiff
24   and Class members have been damaged in an amount to be proven at trial.
25                                                 COUNT III
26                                             Unjust Enrichment
27           83.    Plaintiff incorporates and realleges the foregoing allegations of fact.
28           84.    This count is pled in the alternative to Plaintiff’s fraud and warranty claims.

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 1           85.      Plaintiff brings this claim on behalf of herself and the Class under California law, or
 2   alternatively, Ohio law.
 3           86.      Plaintiff and Class members lack an adequate remedy at law.
 4           87.      As the intended and expected result of its conscious wrongdoing, Natera has profited
 5   and benefitted from Plaintiff and Class members’ purchases of Panorama NIPT tests.
 6           88.      Natera has voluntarily accepted and retained these profits and benefits, knowing that,
 7   as a result of its misconduct alleged herein, Plaintiff and the Class were not receiving accurate test
 8   results an ordinary consumer would expect. Plaintiff and Class members reasonably expected that
 9   when they purchased a Panorama NIPT test, they would be able to rely on the results to make
10   potentially life-altering decisions regarding their pregnancy and their course of treatment.
11           89.      Natera has been unjustly enriched by its deceptive, wrongful, and unscrupulous
12   conduct and by its withholding of benefits and unearned monies from Plaintiff and the Class rightfully
13   belonging to them. Equity and good conscience militate against permitting Natera to retain these
14   profits and benefits from its wrongful conduct. They should accordingly be disgorged or placed in a
15   constructive trust so that Plaintiff and Class members can obtain restitution.
16   VIII. PRAYER FOR RELIEF
17          WHEREFORE, Plaintiff, on behalf of herself and the members of the Class, respectfully
18   request that this Court:
19           1.       Determine that the claims alleged herein may be maintained as a class action under
20   Rule 23 of the Federal Rules of Civil Procedure, and issue an order certifying the Class and Subclass
21   as defined above and appoint Plaintiff as representative of the Class and Subclass and her counsel as
22   Class Counsel;
23           2.       Award all actual, general, special, incidental, statutory, punitive, and consequential
24   damages to which Plaintiff and Class members are entitled;
25           3.       Award pre-judgment and post-judgment interest on such monetary relief;
26           4.       Award reasonable attorneys’ fees and costs as provided by law; and
27           5.       Grant such further and other relief that this Court deems appropriate.
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 1   IX.   DEMAND FOR JURY TRIAL
 2         Plaintiffs hereby demand a trial by jury for all claims so triable.
 3
 4   Dated: February 17, 2022                               /s/ Adam E. Polk
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